'lii!.AO 245B Case    4:09-cr-40105-LLP
              (Rev. 12/03) Judgment in a Criminal Case   Document 447      Filed 10/26/10          Page 1 of 6 PageID #: 1298
              Sheet 1


                                           UNITED STATES DISTRICT COURT
                                               District of South Dakota, Southern Division
        UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                               VS.
                                                                         Case Number: CR09-40105-11
                     RYAN MOBERG
                                                                         USM Number: 10740-173
                                                                                                                    FIL "RD   ~j:~ .

                                                                                                                    OCT 26 2010
                                                                         Richard Arthur Engels

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                                                                         Defendant's Attomey
THE DEFENDANT:
•     pleaded guilty to count(s) 1 of the Second Superseding Indictment
o     pleaded nolo contendere to count(s) which was accepted by the court.

o     was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                      Nature of Offense                                                    Offense Ended        Count
21 U.S.C. §§ 846 and                 Conspiracy to Distribute a Controlled Substance                      05/04/2010           1
841 (a)(l)


The defendant is sentenced as provided in this judgment. The sentence is imposed pursuant the statutory and constitutional authority vested
in this court.

o     The defendant has been found not guilty on count(s)                                                                                       _

o     Count(s)                                               0 is   o are dismissed on the motion of the United States.
IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paId. If ordered to pay restitution,
the defendant must notify the court and United States attorney of any material changes in economic circumstances.



                                                                         10/25/2010




                                                                         Hon. Lawrence L. Piersol, United States District Judge
                                                                         Name and Title of Judge



                                                                         Date
AD 2458
             Case     4:09-cr-40105-LLP
             (Rev. 12/03) Judgment in Criminal Case
                                                      Document 447             Filed 10/26/10       Page 2 of 6 PageID #: 1299
             Sheet 2 -Imprisonment
                                                                                                                   Judgment - Page _2_ of_6_
DEFENDANT:              RYAN MOBERG
CASE NUMBER:            CR09-40 I05-11


                                                               IMPRISONMENT

•      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:
       fifty-one (51) months, with credit for time served.



•      The court makes the following recommendations to the Bureau of Prisons:
       The Court recommends that, if eligible, defendant be allowed to participate in the Bureau of Prisons' 500-hour substance abuse
       treatment program under 18 U.S.C. § 3621(e) and, if successful, the term of incarceration be reduced accordingly.



•      The defendant is remanded to the custody of the United States Marshal.

o      The defendant shall surrender to the United States Marshal for this district:
       o          at                                       Oa.m.        Op.m. on
       o          as notified by the United States Marshal.

o      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       o          before 2 p.m.
       o          as notified by the United States Marshal.
       o          as notified by the Probation or Pretrial Services Offices.

                                                                    RETURN

I have executed this judgment as follows:




          Defendant delivered on                                                           to

at                                                        with a certified copy of this judgment.


                                                                                                     UNITED STATES MARSHAL



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                                                                                                DEPUTY UNITED STATES MARSHAL
AO 2458



DEFENDANT:
             Case    4:09-cr-40105-LLP
             (Rev 12/03) Judgment in a Criminal Case Document 447
             Sheet 3 - Supervised Release


                         RYAN MOBERG
                                                                              Filed 10/26/10           Page 3 of 6 PageID #: 1300
                                                                                                                             Judgment - Page _3_ of_6_
                                                                                                                                                           I
                                                                                                                                                           f
CASE NUMBER:             CR09-40 IOS-II

                                                              SUPERVISED RELEASE
                                                                                                                                                           !i
Upon release from imprisonment, the defendant shall be on supervised release for a term of: five (5) years.                                                !
The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the custody
of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
                                                                                                                                                           I
                                                                                                                                                           ~:'



The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as directed by the probation office.
o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
         substance abuse. (Check, if applicable.)
                                                                                                                                                           II
•        The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

•        The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
         The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
o        student, as directed by the probation officer. (Check, if applicable.)
o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
                                                                                                                                                           I
         If this judgment imposes a fine or a restitution, it is a condition of supervised release that the defendant pay in accordance with the
         Schedule of Payments sheet of this judgment.                                                                                                      t
         The defendant must comply with the standard conditions that have been adopted by this court as well as withany additional conditions
                                                                                                                                                           I
         on the attached page.
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                                              STANDARD CONDITIONS OF SUPERVISION                                                                           t
                                                                                                                                                           I
    I)    the defendant shall not leave the judicial district without the permission of the court or probation officer;                                    i
    2)

    3)
          the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
          month;
          the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
                                                                                                                                                           I
                                                                                                                                                           f
    4)    the defendant shall support his or her dependents and meet other family responsibilities;                                                        f
    5)

    6)
          the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
          the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
                                                                                                                                                           Ii
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
                                                                                                                                                           i
                                                                                                                                                           I
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any Rersons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 II)
 12)
          the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
          the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permISSIOn of the court;
                                                                                                                                                           I
 13)      as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's
          criminal record or personal history or characteristics and shall permIt the probation officer to make such notifications and to confirm
          the defendant's compliance with such notification requirement.                                                                                   I
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AO 2458     Case     4:09-cr-40105-LLP
            (Rev. 12/03) Judgment in a Criminal Case Document 447   Filed 10/26/10   Page 4 of 6 PageID #: 1301
            Sheet 3C - Supervised Release
                                                                                                   Judgment - Page_4 of_6_
DEFENDANT:               RYAN MOBERG
CASE NUMBER:             CR09-40 105-11

                                            SPECIAL CONDITIONS OF SUPERVISION



1.        The defendant shall not consume any alcoholic beverages or intoxicants. Furthermore, the
          defendant shall not frequent establishments whose primary business is the sale of alcoholic
          beverages.
2.        The defendant shall submit to a warrantless search of his person, residence, place of business, or
          vehicle, at the discretion of the probation office.
3.        The defendant, if at any time deemed necessary by the probation officer, shall wear a Remote
          Location Monitoring Device and comply with the provisions of the District of Minnesota's Home
          Confinement Participation Agreement or wherever the defendant serves his supervised release.
4.        The defendant shall participate in a program approved by and at the direction of the probation office
          for treatment of substance abuse.
5.        The defendant, if at any time deemed necessary by the probation officer, shall reside and
          participate in a residential reentry center as directed by the probation office. The defendant shall be
          classified as a prerelease case.
6.        The defendant shall submit a sample of his blood, breath, or urine at the discretion or upon the
          request of the probation office.
7.        The defendant shall undergo inpatient or outpatient psychiatric or psychological treatment, as
          directed by the probation office.
8.        The defendant shall comply with mental health treatment and take any prescription medication as
          deemed necessary by his lreatment provider.
9.        The defendant shall participate in and complete a cognitive behavioral training program as directed
          by the probation office.




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AD 2458      Case     4:09-cr-40105-LLP
             (Rev. 12/03) Judgment in a Criminal Case Document 447            Filed 10/26/10         Page 5 of 6 PageID #: 1302
             Sheet 5 - Criminal Monetary Penalties
                                                                                                                       Judgment - Page _5_ of_6_
DEFENDANT:               RYAN MOBERG
CASE NUMBER:             CR09-40 IOS-II
                                                     CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.

                        Assessment                                                                           Restitution
TOTALS              $   100.00                                   $                                       $


D         The determination of restitution is deferred until.
          An Amended Judgment in a Criminal Case (AO 245C) will be entered after such determination.

D         The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

          If the defendant makes a partial payment, each payee shall receive an approximately ]Jroportioned payment, unless specified otherwise
          in the priority order or percentage payment column below. However, pursuant to 18 U.S.c. § 3664(i), all nonfederal victims must be paid
          before the United States is paid.

                                                                                                                                Priority Or
Name of Payee                                                                 Total Loss·            Restitution Ordered        Percentage




TOTALS                                                                $
                                                                          -------$-------
D     Restitution amount ordered pursuant to plea agreement $

D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
      fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
      subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D     The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

      D        the interest requirement is waived for the        D fine             D restitution.

      D        the interest requirement for the         D fine            D    restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, II OA, and 113A of Title 18 for offenses committed on or after
September 13, 1994 but before April 23, 1996.
AO 2458     Case     4:09-cr-40105-LLP
            (Rev. 12/03) Judgment in a Criminal Case Document 447                Filed 10/26/10             Page 6 of 6 PageID #: 1303
            Sheet 6 - Schedule of Payments
                                                                                                                               Judgment - Page _6_ of_6_
DEFENDANT:                 RYAN MOBERG
CASE NUMBER:               CR09-40105-ll


                                                                  SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A
       •      Lump sum payment of$ ..:.1.::..OO;::.:.c:;O.::..O      due immediately.

              o       not later                              , or
              o       in accordance -----==----=---=-----.
                                         0 C,   0 D,     0. . E, or                     o    F below); or

B      o      Payment to begin immediately (may be combined with                 0      C,     o   D,       o   F below); or

C      o      Payment in equal30eekl~ (e.g., weekly, monthly, quarterly) installments of $over a period of (e.g., months or years), to
              commence (e.g.,     or 0 days) after the date of this judgment; or

D      o      Payment in equal weekl~ (e.g., weekly, monthly, or quarterly) installments of $over a period of (e.g., months or years), to
              commence (e.g., 30 or 0 days) after release from imprisonment to a term of supervision; or

E      o      Payment of the criminal monetary penalties shall be due in regular quarterly installments ofof the deposits in the defendant's
              inmate trust account while the defendant is in custody. Any portion of the monetary obligation(s) not paid in full prior to the
              defendant's release from custody shall be due in monthly installments of, such payments to begm, days following the
              defendant's release; or

F      [J     Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All crIminal monetary penalties, except those payments made througn the Federal Bureau of PrISons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.


o      Joint and Several

       Defendant and Co-Defendant Names and Case Number (including defendant number), Total Amount, Joint and Several Amount, and
       corresponding payee, if appropriate.




o      The defendant shall pay the cost of prosecution.

o      The defendant shall pay the following court cost(s):

o      The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs
